Case 4:21-cv-02041-KM Document 92-9 Filed 07/09/24 Page 1 of 4




EXHIBIT I
SP 7-0050 (12-94)       Case 4:21-cv-02041-KM       REPORTDocument
                                                              TYPE         92-9 Filed         07/09/24
                                                                                      OATE(S)IOAY(S)           Page 2 of 4 I INCIDENT NO.
                                                                                                      OF iNCIDSilT
                                                    [8] INITIAL O CONTINUATION                     03/24/07 Sal                    F1-930370
                                                                                                                       JUVENILE I DOMESTIC VIOLENCE
              PENNSYLVANIA STATE POLICE
                                                    0 SUPPLEMENTAL                    TIME(SJ OF INCIDENT
           INCIDENT REPORT                                                                        1633 hrs.           I I8l               □
ATTACHMENTS:                           0 MISSING PERSON CHECKLIST DISP.: 181 CLEARED BY ARREST O UNFOUNDED O EXCEPTIONALI.Y CLEARED- DATE
                                                                                                   DO VICTIMREFUSEDTOCOOPERATE
0 FELONY CRIMES AGAINST THE PERSON D STATEMENT FORM(S)            A O DEATH OF ACTOR


0 VICllWMTNESSASSISTANCE GOOE RECBPT 181 RJGHTSWARNINGANDWAIVER 8 0 PROSECUTION DECUNED E O JUVENILE/NO CUSTODY
1521 PROPERTY RECORD 1521 OTHER Jwenile Petition                  C O EXTRAOITION DENIED           N O NOT APPLICABLE        0 MULTIPLE CLEAR-UP
                                                             2. LOCATION                                                                                                                                        ZONE
1. ORI/STATION
      PAPSP6000/Montoursville                                                                                  600 block of Cherrv St                                                                              99
3. CITYnwPIBORO                                                                                                    I CODE        I 4, COUNTY                                                                    COOE
                                        Citv of W illiamsoort                                                          301                                   Lycominq                                              41
                                                                             ADORESS                                                                                                 HOIIIEPHONE
5. VICTIM NO.        1         NAME
                                Society
                                                                             ADDRESS                                                                                                 WORK PHONE
6. EMPLOYER NAME



7. RACE/ETHY.            I
                         a. sex    , ,.ooe                  10. AGE          11. RES. STAT.        12.REL TO
                                                                                                   OFFENDER(S)
                                                                                                                   s
                                                                                                                       13. TYPE 114. CIRC. 115. CO\TO OFF.
                                                                                                                       !NJ.
                                                                                                                                                                                 16. TYPE VICT.

                                                                                                                                                                                               S
                                                                                                                                                                                                     117.OFF. NO.
                                                                                                                                                                                                      REL,
                                                                                                                                                                                                               1
              I
                                                                             ADDRESS                                                                                                 HOIIEPHONE
S. VICTIM NO.        2         NAME

                                                                             ADDRESS                                                                                                 WORK PHONE
6, EMPLOYER NAME


                                                                             11. RES. STAT, 12.                        13.      114.CIRC. 115. CON. TO OFF.                                          117.
7. RACE/ETHY.

          I
                         I
                         &SEX
                                   , •. 008

                                                       1
                                                            10. AGE                             REL. TO
                                                                                            OFFENDER(S)                INJ.
                                                                                                                           TYPE                                                  16. TYPE VICT.          OFF. NO.
                                                                                                                                                                                                      REL.



18. OFFENSE
              -                                                                                                                      1- CONTROLLED SUBSTANCE, DRUG, DEVICE ANO COSMETIC ACT
                                                                                                                                           THEFT BY UNLAWFUL TAKING OR DISPOSITION
                  SIMPLE ASSAULT
                                        -       CRIMINAL MISCHIEF
                                                                                     - TERRORISTIC THREATS

              -    BURGLARY
                                        -       MISSING PERSON
                                                                                     - HARASSMENT


              -    ESCAPE
                                        -       AGGRAVATED ASSAULT
                                                                                     - ARSON BY RELATED OFFENSES                     - HARASSMENT BY COMMUNICATION OR ADDRESS
                   OTHER
19. NO.           20. STATUTE     21. SECTION NO.             22. UCR       23. HATE/BIAS          24. OFF. USED       25. OFF. LOC          26. ETY. METii.    NO.       27. ACTY. TYPE           28, WPN/FC       A

                                                                                                                                                                                    p
      1              cs            780-113a16                  186                         88              N                        13




                                                                            181                    0 OTHER
29. VEHICLE:
                              □ STOLEN 31. LIS
                                           I 7 RECOVERED                        SUSPECT
                                                                                       I
30. UC
                                                 PA
                                                           I 32. LIV
                                                               08
                                                                            33. UT
                                                                              PC
                                                                                       34. VIN
                                                                                                    1B3XC46R6MD215188                                  I 351~ 136. VMA                  Dodge
                                        I                               I                                                                                                                            I 42. MILEAGE
37. VMO                      138. VST           139. vco                      140. DOT               141. MIS
      Dynasty                     SON                      Gray
                                                                                                                             45. PRO. DESC.       46. TYPE LOSS       47, QTY.     48. VALUE         49. DATE REC.
43. NO.           44. PROPERTY DESCRIPTION




                                                                             YES           NO                                                                                           YES              NO
50.
                      INCIDENT PROMPTLY REPORTED BY VICTIM                    l8'J          D                  NEIGHBORHOOD/AREA CANVASS                                                D                18]
                      CAN A SUSPECT BE NAMED                                  181           D                  ANY WITNESSES LOCATED                                                    I8l              □
                      EVIDENCE AT SCENE TO LINK OFFENDER                      181           D                  OFFENDER INFORMATION AVAILABLE                                           181              □
                      CAN A VEHICLE BE IDENTIFIED WITH CRIME                  181           D                  IDENTIFIABLEFTRACEABLE PROPERTY                                          181              D
                      SCENE PROCESSED FOR LATENT PRINTS                       □             181                UNIQUE/UNUSUAL METHOD OF OPERATION                                       □                181
                      LATENT PRINTS DISCOVERED                                □             l8'J               THOUGHT TO BE CONNECTED WITH KNOWN CRIME PATTERN
                                                                                                                                                                                        □                181
                                                                              D             181                CLEAN/STATISTICAL NARCOTICS MESSAGE SENT                                 l8'J             □
                      SCENE CHECKED FOR WITNESSES

51. DATE/TIME OFFICER ARRIVED                   52. DATE/TIME OFFICER DEPARTED             l   53. DATE OF REPORT           l   54. PART   05   ONLy         55. LCE NOTIFIED
                                                                                                                                                                         181
                                                                                                                                                                                   r 56. SUPV. INIT./BADGE NO.
          03/24/07 / 1633                   I         03/24/07 / 1813                               03/30/07
                                                                                                                         BADGE NO.
                                                                                                                                                         1
                                                                                                                                             58. INVES. RECM.
                                                                                                                                                             DYES
                                                                                                                                                                  •   l 0O
                                                                                                                                                                          NO
                                                                                                                                                                        59.      CONCUR             I 60. PAGE
57. OFFICER'S NAME/SIGNATURE
  Tpr.T.R.HAVENS                                                                                                 7355                        I8l CONT. □ TERM.                   NONCONCUR                     1
                                                                                                          STATION


                                                                                                                                                       Dent and Havens Production 001
                                   Case 4:21-cv-02041-KM Document 92-9 Filed 07/09/24 Page 3 of 4
SP 7-0050 A (12-94)                                                   REPORT TYPE
                                                                      181 INITIAL O CONTINUATION
                                                                                                                     OATE(S)IDAY(S) OF INCIDENT
                                                                                                                                    03/24/07 Sat.
                                                                                                                                                                      l   lHCIOE~T NO.
                                                                                                                                                                                    F1-930370
         PENNSYLVANIA STATE POLICE
      INCIDENT REPORT - PART II
                                                                      0 SUPPLEMENTAL                                 TIME($) OF INCIDENT
                                                                                                                                1633 hrs.
                                                                                                                                                           I   ~      l l.E   I    DOMESTIC□IOLENCE

ATTACHMENTS:                                      0 MISSING PERSON CHECKLIST            DISP.: l8J CLEARED BY ARREST O UNFOUNDED O EXCEPTIONALLY CLEARED- DATE

0 FELONY CRIMES AGAINST THE PERSON                0 STATEMENT FORMIS)                  A    D DEATH OF ACTOR                        D O VICTIM REFUSED TO COOPERATE
                                                                                         O PROSECUTION DECLINED                     E O JUVl:NILE/NO CUSTOOY
0 \l1CTIMIWITNESSASSISTANCEGIJIOERECBPT l8J RIGHTSWARNINGANOWAJVER                      B

                                                                                       C O EXTRADITION DENIED                       N O NOT APPLICABLE        0 MULTIPLE CLEAR-UP
Ix! PROPERTY RECORP
61. ORI/STATION                                   l
                                Ix! OTHER Juvenile Petition
                                                      62. DATE OF REPORT      I   63. OFFENSE


64.
      PAPSP6000/Montoursville
      181 ACCUSED
      □ SUSPECT
                       1116. OFF£HDER NO.     1       NAME
                                       Anthony MNU BARASKY
                                                            03/30/07
                                                                                            l   66. ADDRESS
                                                                                                              Possession of a Controlled Substance

                                                                                                                      634 Cherry St Williamsport, PA 17701
                                    68. NICKNAMES/ALIAS                                               169. HEIGHT         1 70. WEIGHT       1 71. HAIR    1 72. EYES             1 73. MARITAL STATUS
67. HOME PHONE
      570-327-1445                                                                                          510                 160              BLK               BRO                    single
                                                   77.AGE          78. RES. STAT.     79. OFF. CODE         80. TYPE            81 . DATEOF           82.ARMED                A      83.0TNINON-
7&. RAa:/ElliY.        76. SEX      71.00B
                                                                                                            ARREST              ARREST                WITH                           TRAFFIC CIT. NO.
  B I             H            M                   17                                       186                   T                  03/30/07                                          JUV PETIT
                                                                              R
84. FINGERPRINTED          I0  85. PHOTOGRAPHED       86. DISP;NDER 18      1 87. VIC. ~O. REL        1 88. SSN                 1 89. 0LN
                                                                                                                                                     29044053
                                                                                                                                                                                                 STATE
                                                                                                                                                                                                       PA
0 YES
90. BIRTHPLACE
              ~ NO                  YES [81 NO
                                                   1          I 91. EMPLOYER/SCHOOL                                                                                      92. MISC. NO.

                      Pennsylvania                                          Williamsport High School dropout/ unemployed
"· D□       ACCUSED    I   65. OFFENDER NO.               NAIIE                             I M.ADDRESS
            SUSPECT
87. HOME PHONE                      68. NICKNAMES/ALIAS                                           I     69. HEIGHT        1 70. WEIGHT       I 71 . HAIR   1 72. EYES             1 73. MARITAL STATUS



                                                   77.AGI:         78. RES.STAT.      79. OFF. CODE         80. TYPE            81 . DATE OF          82. ARMED               A      83.0,..,...,,N,
                       75.SEX       78.DOB
74..RACEIETHY,                                                                                              ARREST              ARRES T               WITH                           TRAFFIC err. NO.

        I
84. FINGERPRINTED          I   85. PHOTOGRAPHED    86. OISP. UNDER 18       1 87. VIC. NO. REL        1 88.SSN                  1 89. 0LN
                                                                                                                                                                                                 STATE

Oves 0 NO                      0    YES  O  NO

90. BIRTHPLACE                                                I   91 . EMPLOYER/SCHOOL
                                                                                                                                                                         92. MISC. NO.



93. NARRATIVE

Lat: 4 1 14:56.54                  Long: -77 00:43.80

    In the commission of this crime, Accused: BARASKY was found to be in possession of a controlled substance during a
traffic stop.

    On 03/24/07 at 1633 hrs, I observed a gray in color Dodge Dynasty PA Reg#GPZ5377 traveling NB on Walnut St in the
City of Williamsport, w ithout having its headlights activated while its w indshield wipers were on. I immediately turned my
vehicle around, at which time the same vehicle increased speed significantly, in an apparent attempt elude me. The same
vehicle, turned east onto Memorial Ave, and then north on Cherry St, w ithout activating the appropriate turn signal. When I
finally caught up with the same vehicle , it was attempting to park on the east side of Cherry St in front of a van. I immediately
pulled in behind the vehicle (my lights had already been activated from Walnut St at Little League Blvd). I approached the
driver's side of the vehicle and observed BARASKY as the driver. I immediately instructed BARASKY to turn the vehicle off
and remove the keys. BARASKY then put the car in drive, pulled forward, and then parked the vehicle, turned it off and
handed me the keys. I informed BARASKY why he was being stopped and asked for his license, registration and insurance.
BARASKY complained that I had no reason to stop him, stated that he did not have a license and refused to tell me his name
and date of birth. BARASKY was then removed f rom the vehicle and taken into custody to be positively identified. Prior to
placing BARASKY inside the cage of my marked Patrol vehicle (#12), I patted him down for weapons. No weapons were
discovered, however, I observed a large amount of cash protruding from a pocket on the right leg of his jeans. The cash was
immediately secured, at which time BARASKY related that the money was his mother's. BARASKY was then secured inside
the rear cage area of my Patrol Unit. It should be noted that the rear seat area, including under both driver and passenger
seats of the vehicle were searched prior to the start of my shift and were clear of any contraband.
    Upon securing BARASKY, I returned to the vehicle and asked the front seat passenger: Marvin Lee RICHARDSON Jr
b/m-dob 10/02/82 of 116 Centre Line Ave Williamsport to exit the vehicle. RICHARDSON was patted down for weapons. No
weapons or contraband was discovered. Due to the fact that BARASKY attempted to elude me, he was traveling through a
high crime area, and he was found to be in possession of a large amount of cash, I contacted W illiamsport Bureau of Police
                                                             -continued-

94. OFFICER'S NAME/SIGNATURE                                                   BADGE NO.        I   95. INVES. RECM.        I 96.   SUPV. INITJBAOGE NO.   I   97.   0 CONCUR            ti 98. PAGE
Tpr.T.R.HAVENS                                                                 7355                 l8J   0
                                                                                                         CONT.    TERM.                                              0 NONCONCUR                  2
                                                                                                     STATION

                                                                                                                                            Dent and Havens Production 002
                           Case 4:21-cv-02041-KM Document 92-9 Filed 07/09/24 Page 4 of 4

                                                                                                                                              lI
                                                                                            DATE(S)IDAY(S) OFINClfjENT                        lKCIOENT NO.
SP.i-0051 (3-96)                                         REPORT TYPE
                                                                                                          03/24/07 Sat                              F1-930370
                                                         IZ] INCIDENT
       PENNSYLVANIA STATE POLICE
                                                         0 OTHER                            TIME(s>OF 1NC10eNT                   j Juv;ILe         00MesT1cnv10LeNce
                                CONTINUATION SHEET ~                                                     1633 hrs                      IC,I
                 SUPPLEMENTAL IHVESTIGATION REPORT  0
ATTACHMENTS:                                0 MISSING PERSON CHECKLIST   OISP.: 181 CLEARED BY ARREST O UNFOUNDED O EXCEPTIONALLY CLEARED· DATE
0 FELONY CRIMES AGAINST THE PERSON          0 STATEMENT FORM(S)          A D DEATMOFACTOR                 D □ VICTIMREFI.ISEDTOCOOPERATE


0 \11CTIM/W1111lESSASSISTANCEGUIDERECEIP'T 181 RJGHTSWARNINGANDWAIVER    B O PROSECUTION DECUNED          E   D JUVl!NILEJNO CUSTODY
181 PROPERTY RECORD      I'S<! OTHER Juvenile Petition                   C O EXTRAOOlON DENIED            N □ NOT APPUCABLE             D IIULTlPLl!CLEAR-UP
                                                                                                                                 2. DATE OF REPORT
1. ORI/STATION
                                                                                                                             I                03/30/07
3. OFFENSE
                                               PAPSP6000/Montoursville

                          Possession of a Controlled Substance
                                                                                                   l   4, VICTIM
                                                                                                                                 Societv
5. NARRATIVE
Cpl. Timothy MILLER and requested that he utilize his certified drug detection K-9 "Alex" to conduct an exterior sniff of
BARASKY's vehicle.
    On the same date at 1659 hrs, Cpl. MILLER arrived at the scene and utilized Alex to conduct an exterior sniff of the
vehicle. Alex indicated the presence of a controlled substance in between the front and rear doors on both sides of the
vehicle. As a result, the vehicle was secured and towed to PSP Montoursville by Dincher's garage pending application for
search warrant. I followed the vehicle to PSP Montoursville along with transporting BARASKY. Tpr Edward DAMMER
secured detained RICHARDSON and transported him to PSP Montoursville.
    While en route to PSP Montoursville, BARASKY provided his name and date of birth, at which time it was determined that
BARASKY was a juvenile. As a result, BARASKY's mother. Kimberly BARASKY w/f-dob 08/12/71 , same address, 570-327-
1445 was notified and asked to report to PSP Montoursville. BARASKY also related that he had about $1000.00 in his pocket
that belonged to his mother. He also related that the only money that he had on him that belonged to him was $1 .00. At PSP
Montoursville, the money was counted and totaled $1970.00, not counting Anthony's $1 .00.
    On 03/24/07 at 1745 hrs, Kimberly BARAS KY arrived at PSP Montoursville and was informed why her son was currently
in custody. I also advised Kimberly BARASKY that I was in the process of making application for a search warrant for her
vehicle because I suspected that it contained a controlled substance. Kimberly BARAS KY related that she would consent to
the search of her vehicle. Kimberly BARASKY then was read the attached Waiver of Rights and Consent to Search form
which she subsequently signed. A search of the vehicle was then conducted. The only contraband discovered inside the
vehicle was a tiny piece of suspected marijuana found in the carpet in the rear of the vehicle. After searching the vehicle, both
BARASKY and RICHARDSON were released to Kimberly BARASKY. I informed Kimberly BARASKY that Anthony would be
receiving various traffic citations in the mail. Kimberly BARASKY asked for the money that I had taken from Anthony. I asked
her to tell me how much money she had given to Anthony. She related that she gave him about $1000.00. Then she said
she thought it might be $1300.00. She advised that it was part of her income tax return and that she was going to use it as a
down payment on an apartment. She advised that she gave it to Anthony to deposit for her in a bank. It should be noted that
Anthony BARASKY was thoroughly searched at PSP Montoursville and had no identification, bank deposit slips or
envelopes. It should also be noted that there were no banks in the area where BARASKY was observed , or in the direction
that he was traveling prior to the traffic stop, and it was a Saturday at 1600 hrs. I told Kimberly BARASKY that Anthony had
more than $1300.00 with him, and asked her who it belonged to. She advised that if he had more that $1300.00, she didn't
know whose money he had. I informed BARASKY that I was going to keep the money at PSP Montoursville pending
additional investigation.
    After releasing Anthony BARASKY and RICHARDSON, I checked the rear of my patrol vehicle and smelled a strong odor
of marijuana in the cage area. I began to seat my vehicle at which point I was called away. I then asked Tpr. DAMMER to
continue the search. Tpr. DAMMER then discovered a plastic bag with suspected marijuana concealed under the driver's
seat of my vehicle. The marijuana (approximately ½ oz) field tested positive and was entered into evidence at PSP
Montoursville, along with the $1970.00, reference property record# F1-16883. A lab request will be submitted if needed for
court.
    Kimberly BARASKY's vehicle was returned to her on 03/24/07 at approximately 1800 hrs, after she paid Dincher's garage
for the tow bill. See attached receipt.

   A juvenile petition was prepared for BARASKY and filed along with this report through the Lycoming County Office of
Juvenile Probation. See attached petition. This case was brought to the attention of PSP Montoursville Youth Aid Officer Cpl.
John MCDERMOTT on 03/30/07 at 1500 hrs, in writing. Disposition of this case will be handled in accordance with the
established procedures of Lycoming County.
   See attached J-net certified copy of Anthony BARASKY's driver's history showing that he does not have a license and is
currently under suspension.
   This report shall remain open pending final disposition of charges and a forfeiture petition being prepared for the $1970.00
seized from BARASKY.

I, OFFICER'S NAMEiSIONATURE                                       BADGE NO.   17. INVEST. RECM. 18, SUPV. INIT./BAOGE NO. , 9. 0 CONCUR              110. PAGE
 Tor.T .R.HAVENS                                                  7355         181 CONT. 0 TERM.                                   FiNONCONCUR               3
                                                                               STATION                             Dent and Havens Production 003
